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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
v. 25-mj-/29 7
MICHAEL SINATRA,

Defendant.

PLEA AGREEMENT

The defendant, MICHAEL SINATRA, and the United States Attorney for the
Western District of New York (hereinafter “the government”) hereby enter into a plea

agreement with the terms and conditions as set out below.

L THE PLEA AND POSSIBLE SENTENCE

Le The defendant agrees to waive indictment and to plead guilty to a one count
Information which charges a violation of Title 26, United States Code, Section 7203 (Failure
to File Tax Return) for which the maximum possible sentence is a term of imprisonment of
one year, a fine of $100,000, a mandatory $25 special assessment and a term of supervised
release of | year. The defendant understands that the penalties set forth in this paragraph are

the maximum penalties that can be imposed by the Court at sentencing.

2. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required

to serve in prison all or part of the term of supervised release, up to | year without credit for
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time previously served on supervised release. As a consequence, a prison term imposed for a

violation of supervised release may result in the defendant serving a sentence of imprisonment

longer than the statutory maximum set forth in { 1 of this agreement.

3.

agreement and understands that if this case proceeded to trial, the government would be

Hl. ELEMENTS AND FACTUAL BASIS

The defendant understands the nature of the offense set forth in 41 of this

required to prove beyond a reasonable doubt the following elements of the crime:

4.

a. The defendant was a person required to file a tax return;
b. The defendant failed to file at the time required by law; and

c. The failure to file was willful.

FACTUAL BASIS

The defendant and the government agree to the following facts, which form the

basis for the entry of the plea of guilty including relevant conduct:

a.

During the calendar year 2020, in the Western District of New York,
the defendant, MICHAEL SINATRA (“SINATRA”), a resident of
Tonawanda, New York, received gross income from the operation of
his business, to wit: Sinatra Landscaping and Snowplowing. By reason
of such gross income, the defendant was required by law, following the
close of calendar year 2020, and on or before May 17, 2021, to make an
income tax return to the Internal Revenue Service, in Kansas City,
Missouri, or to another Internal Revenue Service Office permitted by
the Commissioner of Internal Revenue, stating specifically the items of
the defendant’s gross income and any deductions and credits to which
the defendant was entitled. Well knowing and believing all of the
foregoing, the defendant did willfully fail, on or about May 17, 2021, in
the Western District of New York, and elsewhere, to make an income
tax return.
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b. Specifically, during calendar year 2020, SINATRA earned income
through the operation of his business, Sinatra Landscaping and
Snowplowing, which he was required to report on Schedule C of an IRS
Form 1040 (U.S. Individual Income Tax Return). The tax return for
calendar year 2020 was required to be filed with the IRS on or before
May 17, 2021. However, SINATRA willfully failed to file the Form
1040 for tax year 2020, and in that manner, failed to disclose that he had
earned approximately $81,186.51 in income from his business, on which
income he failed to pay the IRS approximately $18,355 in taxes.
SINATRA admits that the approximately $81,186.51 in income
represented cash payments made by customers for work done by his
business and that he offered a discount to customers who paid by cash.
SINATRA further admits that he failed to disclose such cash sales to his
tax preparer. Specifically, SINATRA did not deposit cash payments
into his business account, which is the only account he disclosed to his
tax preparer for use in calculating his taxable business receipts for a
given tax year. .

Cc. While SINATRA did file tax returns for tax years 2019 and 2021, he
failed to report all of his income, that is, he failed to report cash
payments he received for work performed by his business during those
tax years. The amount of underreported income for tax year 2019 was
approximately $74,975.52, resulting in a tax loss of approximately
$22,631. The underreported income for tax year 2021 was
approximately $50,353.38, resulting in a tax loss of approximately
$12,866. SINATRA admits that the total tax loss for tax years 2019,
2020, and 2021 was approximately $53,852.

Il. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL

6. The government and the defendant agree that Guidelines §§ 2T1.1(a)(1),
2T1.1(c)(2), and 2T4.1(E) (total tax loss greater than $40,000) apply to the offense of

conviction and provide for a base offense level of 14.
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ACCEPTANCE OF RESPONSIBILITY
7. At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level decrease of Guidelines § 3EI.1(a) (acceptance of

responsibility), which would result in a total offense level of 12.

CRIMINAL HISTORY CATEGORY
8. It is the understanding of the government and the defendant that the
defendant's criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

ADJUSTMENT FOR ZERO-POINT OFFENDER.
9. It is the understanding of the government and the defendant that the defendant
meets the criteria set forth in Guidelines Section 4C1.1(a)(1) — (11) (Adjustment for Certain
Zero-Point Offenders), and as a result, a two-level downward adjustment applies, and the

adjusted offense level is 10.

GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT

10. _—‘It is the understanding of the government and the defendant that, with a total
offense level of 10 and criminal history category of I, the defendant's sentencing range would

be a term of imprisonment of 6 to 12 months, a fine of $4,000 to $40,000, and a period of
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supervised release of 1 year. Notwithstanding this, the defendant understands that at

sentencing the defendant is subject to the maximum penalties set forth in { 1 of this agreement.

11. The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.

12. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations set forth in this agreement and the defendant will not be

entitled to withdraw the plea of guilty based on the sentence imposed by the Court.

13. In the event the Court contemplates any Guidelines adjustments, departures,
or calculations different from those agreed to by the parties above, the parties reserve the right

to answer any inquiries by the Court concerning the same.

IV. STATUTE OF LIMITATIONS
14. ‘In the event the defendant’s plea of guilty is withdrawn, or conviction vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this

agreement shall be automatically reinstated upon motion of the government and further
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agrees not to assert the statute of limitations as a defense to any federal criminal offense which
is not time barred as of the date of this agreement. This waiver shall be effective for a period
of six months following the date upon which the withdrawal of the guilty plea or vacating of

the conviction becomes final.

Vv. IMMIGRATION CONSEQUENCES

15. The defendant represents that the defendant is a citizen of the United
States. However, if the defendant is a naturalized citizen of the United States, the defendant
understands that pleading guilty may result in denaturalization and removal. If the defendant
is not a citizen of the United States, the defendant understands that, if convicted, the
defendant may be removed from the United States, denied citizenship, and denied admission
to the United States in the future. The defendant understands that any effect that the
defendant's conviction in this action will have upon the defendant's immigration status, that
is, possible removal, denaturalization, or other immigration consequence, is the subject of a
separate proceeding. The defendant has had an opportunity to fully determine what the
consequences of the defendant's conviction may be on the defendant's immigration status,
and the defendant understands that no one, including the defendant’s attorney or the district
court, can predict to a certainty the effect of the defendant’s conviction on the defendant’s
immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the guilty plea may entail.

16. The defendant understands that the defendant is bound by the guilty plea

regardless of the immigration consequences of the plea. Accordingly, the defendant waives
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any and all challenges to the guilty plea and to the sentence based on those consequences, and
agrees not to seek to withdraw the guilty plea or to file a direct appeal or any kind of collateral
attack challenging the guilty plea, conviction, or sentence based on the immigration
consequences of the guilty plea, conviction, or sentence. This waiver does not preclude the

defendant from raising a claim of ineffective assistance of counsel in the appropriate forum.

VI. GOVERNMENT RIGHTS AND OBLIGATIONS
17. At sentencing, the government agrees not to oppose the imposition of a

sentence of probation.

18. The government reserves the right to take a position as to the amount and

method of payment for restitution and/or fine.

19. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government;

c. advocate for a specific sentence consistent with the terms of this
agreement including the amount of [restitution and/or] a fine and the
method of payment; and

d. modify its position with respect to any sentencing recommendation or
sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
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statements by the defendant subsequent to this agreement, regarding the
recommendation or factor.

20. The government agrees that the defendant will not be prosecuted by the Office
of the United States Attorney for the Western District of New York for possession of
controlled substances in violation of Title 21, United States Code, Section 844, or being an
unlawful user of controlled substances in possession of a firearm and ammunition in violation
of Title 18, United States Code, Section 922(g)(3), committed in the Western District of New

York on August 12, 2021.

21. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

FINE SECTION

22. It is the agreement of the parties pursuant to Rule 11(c)(1)(B) of the Federal
Rules of Criminal Procedure that the Court at the time of sentence impose a fine of at least
$40,000, as part of the appropriate sentence in this case. The defendant agrees that the
approximately $232,680 in cash recovered by law enforcement officers from the defendant’s
residence located at 2802 Colvin Boulevard, Town of Tonawanda, New York, on August 17,
2021, will be applied toward the fine. This agreement applies only to the amount of the fine
and does not affect the length and conditions of a term of supervised release that may be

imposed by the Court at sentencing.
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VU. RESTITUTION AND PAYMENT OF TAX LIABILITY

23. The defendant agrees to pay restitution to the Internal Revenue Service in the
total amount of $53,852, pursuant to Title 18, United States Code, Section 3663(a)(3), plus
interest on the tax from the due date of the tax return at the rates specified in Title 26, United
States Code, Sections 6621 and 6622. The defendant understands that defendant will not be
entitled to withdraw the plea of guilty based upon any restitution amount ordered by the
Court. The restitution has been calculated as follows:

2019 2020 2021
Tax Due & Owing $22,631.00 $18,355.00 $12,866.00

Penalties $16,973.25 $13,766.25 $9,649.50
Interest Calculated thru 03/15/25 $11,877.46 $8,388.71 $5,056.76

Total Per Year $51,481.71 $40,509.96 $27,572.26

Grand Total: $119,563.93

24. The defendant agrees to pay Title 26 interest on the restitution amount, and the
interest runs from the last date prescribed for payment of the relevant tax through the date of

sentencing. The government will provide an updated interest figure at sentencing.

25. The defendant agrees that the total amount of restitution reflected in this

agreement results from the defendant’s underlying conduct.

26. The defendant agrees to pay restitution by making payment as ordered by the

Court in any restitution order entered pursuant to this plea agreement.
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27. If the Court orders the defendant to pay restitution to the IRS for the failure to
pay tax, either directly as part of the sentence or as a condition of supervised release, the IRS
will use the restitution order as the basis for a civil assessment. See Title 26 United States
Code, Section 6201(a)(4). The defendant does not have the right to challenge the amount of
this assessment. See Title 26, United States Code, Section 6201(a)(4\(C). Neither the
existence of a restitution payment schedule nor the defendant’s timely payment of restitution
according to that schedule will preclude the IRS from administrative collection of the
restitution-based assessment, including levy and distraint under Title 26, United States Code,

Section 6331.

28. The defendant agrees that the defendant will not oppose bifurcation of the
sentencing hearing under 18 U.S.C. § 3664(d)(5) if the victims’ losses are not ascertainable

prior to sentencing.

29. The defendant agrees that the defendant will sign any IRS forms deemed
necessary by the IRS to enable the IRS to make an immediate assessment of that portion of
the tax and interest that the defendant agrees to pay as restitution. The defendant also agrees

to sign IRS Form 8821, "Tax Information Authorization."

30. The defendant agrees not to file any claim for refund of taxes or interest

represented by any amount of restitution paid pursuant to this agreement.

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31. The defendant agrees that the defendant is liable for the fraud penalty under
Title 26, United States Code, Section 6663, or Title 26, United States Code, Section 6651(f}
on the amount to be credited to tax set forth above. The defendant agrees to the immediate
assessment of the fraud penalty on the amount to be credited to the tax set forth above and
agrees that, in order to enable the IRS to make an immediate assessment of the fraud penalty,
any IRS forms the defendant agreed to sign as set forth above will include the appropriate
amount of the fraud penalty. The defendant agrees not to challenge or dispute any fraud

penalties on the amount to be credited to tax set forth above.

32. The parties understand that the defendant will receive proper credit, consistent
with the above, for the payments made pursuant to this agreement. Except as set forth in the
previous sentence, nothing in this agreement shall limit the IRS in its lawful examination,
determination, assessment, or collection of any taxes, penalties, or interest due from the

defendant for the time periods covered by this agreement or any other time period.

33. The defendant agrees that this agreement, and any judgment, order, release, or
satisfaction issued in connection with this agreement, will not satisfy, settle, or compromise
the defendant’s obligation to pay the balance of any remaining civil liabilities, including tax,
additional tax, additions to tax, interest, and penalties, owed to the IRS for the time periods

covered by this agreement or any other time period.

34. The defendant understands that the defendant is not entitled to credit with the

IRS for any payment sent to an incorrect address or accompanied by incomplete or inaccurate

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information, unless and until any payment is actually received by the Internal Revenue

Service and identified by it as pertaining to the defendant’s particular liability.

35. | The defendant agrees to disclose fully and completely all assets in which the
defendant either has any property interest or over which the defendant exercises control,
directly or indirectly, including those held by a spouse, nominee, or other third party. The
defendant agrees to make complete financial disclosure to the government by truthfully
executing a sworn financial statement by the deadline set by the government, or if no deadline
is set, no later than two weeks prior to the date of sentencing. The defendant agrees to
authorize the release of all financial information requested by the government, including, but
not limited to, executing authorization forms for the government to obtain tax information,
bank account records, credit history, and social security information. The defendant agrees
to discuss or answer any questions by the government relating to the defendant's complete
financial disclosure. The defendant will submit to an examination under oath and/or a
polygraph examination conducted by an examiner selected by the U.S. Attorney’s Office on
the issue of the defendant’s financial disclosures and assets, if deemed necessary by the U.S.
Attorney’s Office. The defendant certifies that the defendant has made no transfer of assets
in contemplation of this prosecution for the purpose of evading or defeating financial
obligations that are created by the agreement and/or that may be imposed upon the defendant
by the Court. In addition, the defendant promises that the defendant will make no such

transfers in the future.

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36. The defendant understands and agrees that the Court, at the time of sentencing,
will order that all monetary penalties imposed at that time (including any fine, restitution, or
special assessment imposed in accordance with the terms and conditions of this plea
agreement) are to be due and payable in full immediately and will be: (i) subject to immediate
enforcement as provided for in Title 18, United States Code, Section 3613, and (ii) submitted
to the Treasury Offset Program (TOP) so that any federal payment or transfer of returned
property the defendant receives may be offset and applied to federal debts but will not affect

any periodic payment schedule set by the Court.

37. Under the TOP program, the Department of the Treasury will reduce or
withhold any of the defendant’s eligible Federal payments by the amount of the defendant’s
debt. This “offset” process is authorized by the Debt Collection Act of 1982, as amended by
the Debt Collection Improvement Act of 1996, and the Internal Revenue Code. The
government hereby provides the defendant with notice that 60 days after sentencing, unless
the monetary judgment(s) ordered by the Court are paid in full immediately after sentencing,
the government will refer the outstanding monetary judgment to TOP for the offset of any
pending federal payments, and the defendant agrees not to object or contest any such action

by the government and waives any further notice.

38. The defendant understands and acknowledges that any schedule of payments

imposed by the Court at the time of sentencing is merely a minimum schedule of payments

and does not, in any way, limit those methods available to the government to enforce the

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judgment. Further, the defendant agrees not to challenge or dispute any efforts by the

government to enforce collection of any monetary penalties ordered by the Court.

39. The defendant understands and agrees that under Title 18, United States Code,
Section, 3664(m), the government may use all available and reasonable means to collect
restitution, and pursuant to Title 18, United States Code, Section, 3664(n), if the defendant is
ordered to pay restitution, or pay a fine, and receives substantial resources from any source,
including inheritance, settlement, or other judgment, during a period of incarceration, the
defendant shall be required to apply the value of such resources to any restitution or fine still

owed without objection.

40. The defendant agrees that any funds and assets in which the defendant has an
interest, which have been seized or restrained by the government or law enforcement as part
of the investigation underlying this plea agreement, and not subject to forfeiture, will be used
to offset any judgment of restitution and fine imposed pursuant to this plea agreement, or to

satisfy any debts owed by the defendant to the government and/or agencies thereof.

41. To the extent that the defendant has an interest, the defendant authorizes the
District Court Clerk to release any funds posted as security for the defendant’s appearance
bond in this case, which funds shall be applied to satisfy the financial obligations of the

defendant pursuant to the judgment of the Court.

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42. The defendant is aware that voluntary payment of restitution prior to
adjudication of guilt is a factor in considering whether the defendant has accepted

responsibility under United States Sentencing Guidelines § 3EI.1.

VI. APPEAL RIGHTS

43. The defendant knowingly waives the right to appeal and collaterally attack the
defendant’s conviction in any proceeding, including, but not limited to, an application under
Title 28, United States Code, Section 2255, and/or Section 2241. In addition to any other
claims the defendant might raise, the defendant knowingly waives the right to challenge the
conviction based on: (1) any non-jurisdictional defects in the proceedings prior to entry of this
plea; (2) a claim that the statute to which the defendant is pleading guilty is unconstitutional;
and (3) a claim that the conduct admitted in the Factual Basis of this plea agreement does not

fall within the scope of the statute to which the defendant is pleading guilty.

44. The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack, in any proceeding, including but
not limited to, an application under Title 28, United States Code, Section 2255 and/or Section
2241, any component of a sentence imposed by the Court which falls within or is less than a
term of imprisonment of 6 to 12 months, a fine of $40,000, and a period of supervised release
of 1 year, notwithstanding the manner in which the Court determines the sentence. The
defendant further knowingly waives the right to appeal and/or collaterally attack any

condition of supervised release imposed by the Court for which the defendant had notice,

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including from a recommendation by the Probation Office in the Presentence Investigation
Report, and an opportunity to object. In the event of an appeal of the defendant's sentence
by the government, the defendant reserves the right to argue the correctness of the defendant's
sentence. The defendant further agrees not to appeal a restitution order which does not exceed
the amount set forth in Section VII of this agreement. Notwithstanding the foregoing, nothing
in this paragraph shall be construed to be a waiver of whatever rights the defendant may have
to assert claims of ineffective assistance of counsel, whether on direct appeal, collateral

review, or otherwise.

45. The defendant understands that by agreeing not to collaterally attack the
conviction or sentence in any proceeding, including, but not limited to, an application under
Title 28, United States Code, Section 2255 and/or Section 2241, the defendant is waiving the
right to challenge the conviction or sentence in the event that in the future the defendant
becomes aware of previously unknown facts or a change in the law which the defendant

believes would justify a decrease in the defendant’s sentence.

46. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than a term of imprisonment of 6 to 12
months, a fine of $40,000, and a period of supervised release of 1 year, notwithstanding the
manner in which the Court determines the sentence. However, in the event of an appeal from
the defendant's sentence by the defendant, the government reserves its right to argue the

correctness of the defendant's sentence.

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IX. FORFEITURE PROVISIONS
ABANDONMENT

47. The defendant agrees to voluntarily abandon the following items seized on
January 28, 2019: (i) Red iPhone with charger; (ii) Black iPhone with gold and black case
charger; (ili) Black and silver iPhone; (iv) Black and silver iPhone (damaged); (v) Black and
silver iPhone with Otter Box case; and (vi) Black flip phone, and the following items seized
from the defendant’s residence, on or about August 17, 2021, at 2802 Colvin Boulevard,
Tonawanda, New York 14150 during the criminal investigation associated with this matter:
(i) One Mossberg 20 gauge with pistol grip, model 500, serial number V0969832; and (ii) 25
rounds of 20 gauge shotgun ammunition. The defendant waives any and all rights or interest
to which the defendant may still possess in the aforementioned property or for which the

defendant may have a claim.

48. The defendant further understands that the government and any law
enforcement agency acting on behalf of the government may in its discretion, destroy the

aforementioned property.

49. The defendant agrees that the above property is subject to abandonment, and
agrees to waive all statutory and constitutional rights, including but not limited to, time

restrictions and notice provisions with respect to the abandonment of the aforementioned

property.

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50. The defendant agrees that in the event this plea agreement is voided for any
reason, the agreement for forfeiture, abandonment, and disposition of the aforementioned
property survives and shall be given full force and effect. The failure of the defendant to forfeit
any property as required under this agreement, including the failure of the defendant to
execute any document to accomplish the same on timely notice to do so, may constitute a

material breach of this agreement.

51. The defendant agrees that if, for any reason, in any pleadings before the Court,
or any order of the Court, including but not limited to the Preliminary and/or Final Order of
Forfeiture and the Judgment and Commitment, the government fails to properly identify an
item to be forfeited, fails to include any item that is forfeitable under the applicable forfeiture
statute in this case, or includes a clerical or technical error, the defendant will consent and not
oppose any effort by the government to amend, correct, or add to the description/list of items
subject to forfeiture in this case. Additionally, to the extent necessary, and at the discretion of
the United States Attorney’s Office, the defendant further agrees in the alternative, to the
abandonment or civil forfeiture of any items that were excluded from the original description
of items to be forfeited. Finally, if not specially identified or listed above, the defendant agrees

to the abandonment of any and all cellular phones seized by law enforcement in this case.

TOTAL AGREEMENT AND AFFIRMATIONS

52. This plea agreement represents the total agreement between the defendant,

MICHAEL SINATRA, and the government. There are no promises made by anyone other

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than those contained in this agreement. This agreement supersedes any other prior

agreements, written or oral, entered into between the government and the defendant.

MICHAEL DIGIACOMO
United States Attorney
Western District of New York

_—_——
BY: onl Mh - for 4
EPH M. TRIPI
ssistant United States Attorney

Dated: June & 2025

I have read this agreement, which consists of pages 1 through 19. I have had a full
opportunity to discuss this agreement with my attorney, Herbert L. Greenman, Esq. I agree
that it represents the total agreement reached between me and the government. No promises
or representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of this

agreement. I am signing this agreement voluntarily and of my own free will.

Md nf (tread

MICHAEL SINATRA HERBERT L. GREENMAN, ESQ.
Defendant Attorney for the Defendant
Dated: June (, , 2025 Dated: June &., 2025

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